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     PACIFIC ALLIANCE ASIA OPPORTUNITY FUND L.P. vs.
                     KWOK HO WAN




                                 MILES KWOK
                                 October 3, 2018




                                  Original File 247294.TXT
                           Min-U-Script® with Word Index
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 1      SUPREME COURT OF THE STATE OF NEW YORK

 2      COUNTY OF NEW YORK
        ------------------------------------------------x
 3      PACIFIC ALLIANCE ASIA OPPORTUNITY FUND L.P.,

 4                                    Plaintiff,

 5            -against-

 6      KWOK HO WAN, a/k/a KWOK HO, a/k/a GWO WEN
        GUI, a/k/a GUO WENGUI, a/k/a GUO WEN-GUI,
 7      a/k/a WAN GUE HAOYUN, a/k/a MILES KWOK,
        a/k/a HAOYUN GUY,
 8
                                      Defendant.
 9
        Index No.: 652077/2017
10      ------------------------------------------------x

11

12                                    7 Times Square
                                      New York, New York
13
                                      October 3, 2018
14                                    9:39 a.m.

15

16                         Videotaped Examination Before Trial

17      of the MILES KWOK, before Kristi Cruz, a Notary

18      Public of the State of New York.

19

20

21
22

23                  ELLEN GRAUER COURT REPORTING CO. LLC
                      126 East 56th Street, Fifth Floor
24                        New York, New York 10022
                                212-750-6434
25                              REF: 247294
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 1      A P P E A R A N C E S:

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                                                                                    3


 1      A P P E A R A N C E S:             (Cont'd)

 2

 3      ALSO PRESENT:

 4             ELIZABETH YAOYING JIANG, Mandarin Interpreter

 5             DAN MACOM, Videographer

 6             KARIN MAISTRELLO, Golden Spring
 7

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1                                        KWOK
 2                  A.     This Ms. Chiling (phonetic).

 3                  Q.     Who else?

 4                  A.     I need an interpreter.
 5                  Q.     Fair enough.       Who else was there?

 6                  A.     Yvette Wang would sometimes come in,

 7         sometimes go out.
 8                  Q.     Who else was there?

 9                  A.     Oh, our colleague our colleagues
10         come in and out and security guards come in

11         and out.

12                  Q.     Can you please tell me what you
13         discussed when Yvette Wang was in the room?

14      DI                 MR. HARMON:       Objection.

15                  Attorney/client privilege.           I direct the

16                  witness not to answer.
17                  Q.     Can you please tell me what was

18         discussed when your other colleagues were in

19         the room during that meeting?

20                  A.     This I can't tell you.           It's all

21         about giving birth.            I don't think you want to

22         hear about that.           Six hours previous to that

23         my colleague just gave birth to a child.

24                  Q.     Can you tell me what you discussed

25         with Ms. Searles and Mr. Harmon regarding this
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1                                        KWOK
 2         case during your meeting when other colleagues

 3         were in the room?

 4      DI                 MR. HARMON:       I direct the witness
 5                  not to answer.

 6                  A.     I do not want to answer such a

 7         question.
 8                  Q.     Can you tell me what you discussed

 9         with Ms. Searles and Mr. Harmon regarding this
10         case during your meeting when security guards

11         were present in the room?

12      DI                 MR. HARMON:       I direct -- I'm
13                  directing the witness not to answer.

14                  Q.     Mr. Kwok, do you communicate using

15         e-mail?

16                  A.     No, no.
17                  Q.     How do you communicate other than

18         speaking?        I'm going to withdraw.            That's too

19         broad.        That's a bad question.

20                         Do you communicate by text message?

21                  A.     Text message?        What is that?        I

22         don't understand.           Text message includes so

23         many things.          There's a thousand methods for

24         text message.          Which kind are you speaking of?

25         I do not understand.
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1                                        KWOK
 2                  Q.     Do you communicate using any type of

 3         text message?

 4                  A.     Text message to communicate?              Yes.
 5                  Q.     Do you communicate using the

 6         WhatsApp application?

 7                  A.     I do.
 8                  Q.     What other types of text message do

 9         you use?
10                  A.     So many.      In China there's over

11         thousands.        If you have to ask me to think of

12         them, I have to sit here for several hours.
13                  Q.     So you use several types of text

14         messaging?

15                  A.     I don't understand when you say

16         several methods of text messaging.                  I don't
17         understand what that means.

18                  Q.     Well, you just told me that there

19         were thousands of types of text messaging, and

20         I'm asking you, generally speaking, whether or

21         not you use many different types of text

22         messages.

23                  A.     I use three, four kinds.

24                  Q.     Were your text messages searched in

25         connection with this litigation?
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1                                        KWOK
 2                  A.     I did not use any one for this.                  I

 3         did not use any one or anything for this.                        I

 4         don't understand what you mean by that.                    I
 5         never discuss this litigation.                I think this

 6         is just a crazy case.             I think this is just

 7         scamming.        I think you guys are a bunch of
 8         thugs.        I think you are just mafia.            You're

 9         working for the communists.               You're doing
10         threats and racketeering.               The whole world

11         knows what you're doing.              You're helping the

12         mafia.        You're destroying a good person.              I
13         don't need to pay any attention to you at all.

14                  Q.     Let me try it again.

15                         Did you provide -- strike that.

16                         Do you know whether your lawyers
17         searched any of your text messages to respond

18         or to try to respond to my client's document

19         requests in this case?

20                  A.     I don't understand.          I don't

21         understand all the things you're saying.                    The

22         question you're asking is completely

23         incomprehensible to me.              I think you're

24         speaking to me separated by the galaxy.                    You

25         have created a completely nonexisting case and
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1                                        KWOK
 2         then you're ask me questions.                I'm completely

 3         unable to answer you.

 4                  Q.     You cannot answer whether or not
 5         your text messages were searched in connection

 6         with this case?

 7                  A.     I really do not understand what your
 8         meaning is.

 9                  Q.     You understand that it's possible to
10         run a search in a person's text messages?

11                  A.     Of course I know that.           I know that

12         text can be searched.             But as for other
13         searching it or not, is this related?

14                  Q.     My question is whether or not your

15         text messages were searched to try to find

16         documents that we asked for in this case.
17                  A.     I really don't understand.             My text,

18         because the communist party are trying to

19         assassinate me, my text has many intelligences

20         and security guards.

21                         THE INTERPRETER:         I missed the last

22                  part of his speech.         I'll just ask him to

23                  repeat.

24                         THE WITNESS:       Sorry.     It a security

25                  reason.      I don't want to die here should
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1                                        KWOK
 2                  you poison.

 3                         THE INTERPRETER:         I had to ask him

 4                  to repeat that.       I said, "What happened to
 5                  your text?     You were saying the communist

 6                  were trying to assassinate you?"              He said:

 7                  A.     Well, my text have to be prepare for
 8         many copies for a lot of people to see it

 9         every day.
10                  Q.     So you don't know whether or not

11         your text messages were searched for this

12         case?
13                  A.     You know, my text, so many search,

14         so many cases.          But specifically, I really

15         don't understand what you're saying.                   I'm

16         really sorry.
17                  Q.     That's okay.

18                         MR. MOSS:      Let's take a break.

19                         THE VIDEOGRAPHER:         We're now off the

20                  record.      The time is 10:07 a.m.

21                         (Recess was taken.)

22                         THE VIDEOGRAPHER:         We're now back on

23                  the record.      The time is 10:19 a.m.

24      BY MR. MOSS:

25                  Q.     Mr. Kwok, I need to explain a few
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1                                        KWOK
 2         things for the record.             We are here

 3         representing Pacific Alliance, nobody else.

 4         Pacific Alliance has filed a lawsuit against
 5         you, and under the law we are entitled to ask

 6         questions and to get answers from you to those

 7         questions unless you're instructed not to
 8         answer those questions.              We have not gotten

 9         answers to several questions so far and we are
10         going to ask all of our questions, and at the

11         rate we're going, it's going to take a very

12         long time.        And I've tried very hard, I've
13         prepared, to focus my questions so as not to

14         waste your time and not to waste anybody's

15         time.         And if you will answer my questions,

16         this whole thing will be over faster for all
17         of us.

18                          MR. HARMON:      I'm sure he's doing his

19                  best to answer the questions as he

20                  understands them.

21                  A.      A lot of your questions won't be so

22         ridiculous.           My attorney has told me to

23         truthfully answer all of your questions.

24                  Q.      You have no reason to be, do you,

25         that these two attorneys sitting here,
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                                                                                   25


1                                        KWOK
 2         Mr. Harmon and Ms. Searles, searched your text

 3         messages in connection with this litigation

 4         against PAX, Pacific Alliance?
 5                          MR. HARMON:      Object to the form of

 6                  the question.

 7                          THE INTERPRETER:        This is
 8                  interpreter.      You want me to interpret the

 9                  question to him and the objection, as
10                  well?

11                          MR. MOSS:     Sure.

12                          MR. HARMON:      And tell him to answer
13                  if he understands the question, please.

14                  A.      I do not know.

15                  Q.      You have no information to suggest

16         or no recollection that they did, in fact,
17         search your text messages?

18                          MR. HARMON:      Object to the form of

19                  the question.

20                  A.      I do not know.

21                  Q.      Did you provide your text messages

22         to Mr. Harmon or Ms. Searles to be searched?

23                  A.      I do not know.

24                  Q.      You don't know whether or not you

25         gave your phone to Mr. Harmon or Ms. Searles
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1                                        KWOK
 2         to search your text messages?

 3                         MR. HARMON:       Object to the form of

 4                  the question.
 5                  A.     I do not know.

 6                  Q.     Do you know whether or not you gave

 7         a laptop or another computer to Mr. Harmon or
 8         Ms. Searles to search your text messages or

 9         documents?
10                  A.     I do not know.

11                  Q.     Did you provide any paper documents

12         to Mr. Harmon Ms. Searles to respond to
13         Pacific Alliance's request?

14                  A.     No.

15                  Q.     Did anyone ever ask you to search

16         your documents to respond to Pacific
17         Alliance's requests?

18                  A.     No.

19                  Q.     Did anyone ever ask you to search

20         your text messages to respond to Pacific

21         Alliance's requests?

22                  A.     No.

23                  Q.     Did you ever discuss with anybody

24         searching for documents or text messages to

25         respond to Pacific Alliance's requests?
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1                                        KWOK
 2                  A.     No.

 3                  Q.     Thank you.

 4                  A.     Do you think my responses are fast
 5         enough?

 6                  Q.     Mr. Kwok, I get to ask the questions

 7         today.        But I will answer that one.            These
 8         responses are fine.            Thank you.

 9                         Do you own a residence at the
10         Sherry-Netherland Hotel?

11                  A.     No.

12                  Q.     Do you live in a residence at the
13         Sherry-Netherland Hotel?

14                  A.     Sometimes.

15                  Q.     Who owns that residence?

16                  A.     Mr. Zhang Wei.
17                         THE INTERPRETER:         Z-H-A-N-G, W-E-I,

18                  phonetic spelling.

19                  Q.     Who is Zhang Wei?

20                  A.     Is a working partner, a fund, a

21         conglomerate fund, a member of that.

22                  Q.     Is Zhang Wei a person or an entity?

23                  A.     It's a person.

24                  Q.     Where does Zhang Wei live?

25                  A.     In prison.
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1                                        KWOK
 2                  Q.     When did Zhang Wei purchase the

 3         residence?

 4                  A.     This residence, it was in 2015.
 5                  Q.     Do you have any ownership interest

 6         personally at all in the residence?

 7                  A.     No.
 8                  Q.     Have you heard of a company

 9         called -- we talked about this earlier --
10         Genever Holdings Corporation?

11                  A.     I heard of it.

12                  Q.     Does Genever Holdings Corporation
13         own the residence at the Sherry-Netherland

14         Hotel?

15                  A.     Yes.

16                  Q.     What is Zhang Wei's relationship to
17         Genever Holdings Corporation?

18                  A.     Zhang Wei was entrusted by Genever.

19                         THE INTERPRETER:         I'll instruct him

20                  to say it in parts.

21                         I just said because of accuracy, I

22                  like to interpret 100 percent, and if he

23                  gives me too much information, I will be

24                  leaving out information.           So I just asked

25                  him to give me in segments.
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1                                        KWOK
 2                  A.     Mr. Zhang Wei was the initial person

 3         who put out the funds.             I and this whole

 4         Genever Corporation was the entrusted party,
 5         and also to represent his investment,

 6         investors.

 7                         THE INTERPRETER:         He said is this
 8                  okay, I said yes.

 9                  Q.     Were you the one who applied to the
10         Sherry-Netherland to live in the apartment?

11                         MR. HARMON:       Object to the form of

12                  the question.
13                  A.     One of them.

14                  Q.     Who else applied to live in that

15         apartment at the Sherry-Netherland?

16                  A.     I do not know.
17                  Q.     You don't know who else applied to

18         live in the same apartment at the

19         Sherry-Netherland --

20                         MR. HARMON:       Object to the form of

21                  the question.

22                         MR. MOSS:      How about if I finish the

23                  question and then you can object.

24                         MR. HARMON:       I thought you did.

25                         MR. MOSS:      Okay.
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1                                        KWOK
 2         relating to Genever Holdings LLC and Genever

 3         Holdings Corporation that were produced from

 4         the files of the Sherry-Netherland Hotel.
 5                         MR. HARMON:       Did you mark the

 6                  document?

 7                         MR. MOSS:      Yeah.     It's Exhibit 1.
 8                         MR. SARNOFF:       Kwok 1.

 9                         MR. HARMON:       Kwok 1?     Thank you.
10                  Q.     Mr. Kwok, I'd like to direct your

11         attention, there are members at the bottom, we

12         call them Bates numbers.              I'd like to direct
13         your attention to SN 0159, please.                  Do you see

14         this is the Certificate of Incorporation for

15         Genever Holdings Corporation?

16                  A.     I do not understand it.
17                  Q.     You cannot read the document?

18                  A.     Absolutely not.

19                  Q.     Are you aware that Genever Holdings

20         Corporation was formed on or around

21         February 13, 2015?

22                  A.     I don't understand what you mean.                I

23         don't really remember this.               I've never seen

24         this document before.

25                  Q.     You don't understand what I mean
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1                                        KWOK
 2         when I ask whether or not you're aware that

 3         Genever Holdings Corporation was formed on or

 4         around February 13, 2015?
 5                         MR. HARMON:       Object to the form of

 6                  the question.

 7                  A.     I don't really -- I don't really
 8         know about it.          I don't really remember it.

 9         This is all arranged by attorneys.
10                  Q.     Let's look at SN 0161.           Can you read

11         anything on this document?

12                  A.     I'm unable to.        I can only look at
13         the Arabic numerals, the one, the zeros.                    The

14         others I do not know.

15                  Q.     Maybe this will make things easier,

16         Mr. Kwok.        Can you read any English at all?
17                  A.     No, I absolutely cannot.

18                  Q.     So if I put any document in front of

19         you today, you would not be able to read it?

20                  A.     Yes.    I am currently learning

21         English.

22                  Q.     Okay.     Well, there will be many

23         fewer documents today than I thought there

24         might be.

25                  A.     Oh, really.       I'm sorry about that.
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1                                        KWOK
 2                  Q.      That's quite all right.

 3                  A.      I've never seen this thing.

 4                  Q.      Are you the sole shareholder of
 5         Genever Holdings Corporation?

 6                  A.      You know, the way you're putting it,

 7         I don't know.          I'm just agent and they just
 8         asked me to sign and I don't even know what

 9         I'm signing.          For you to say that I owe you 30
10         million, what F that is, I never sign

11         anything.

12                  Q.      Are you the sole director of Genever
13         Holdings Corporation?

14                          THE INTERPRETER:        This is the

15                  interpreter.      Director meaning?

16                          MR. MOSS:     Like a board member.
17                          THE INTERPRETER:        Board member.

18                  Okay.

19                  A.      I really don't know.

20                  Q.      Do you control Genever Holdings

21         Corporation?

22                  A.      Of course I don't control it.

23                  Q.      Zhang Wei controls it?

24                  A.      Of course.

25                  Q.      Does Genever Holdings corporation
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1                                        KWOK
 2         have any assets?

 3                  A.     I do not know.

 4                  Q.     Have you heard of a company called
 5         Genever Holdings LLC, a New York Limited

 6         Liability Company?

 7                  A.     I heard of it.
 8                  Q.     Does Genever Holdings corporation

 9         own Genever Holdings LLC?
10                  A.     Yes.    Yes.

11                  Q.     Does Genever Holdings Corporation

12         have any assets other than Genever Holdings
13         LLC?

14                  A.     I do not know.

15                  Q.     Does Genever Holdings LLC own the

16         residence at the Sherry-Netherland Hotel?
17                  A.     This I don't really know, but I

18         think so.        I can't give you specifics.

19                  Q.     So if Genever Holdings Corporation

20         owns Genever Holdings LLC and Genever Holdings

21         LLC owns the residence, then Genever Holdings

22         Corporation ultimately owns the residence.

23                         MR. HARMON:       Object to the form of

24                  the question.

25                  A.     I do not know.
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1                                        KWOK
 2                  Q.     Do you know if Genever Holdings

 3         corporation has any ownership interest in the

 4         residence at the Sherry-Netherland Hotel?
 5                         MR. HARMON:       Object to the form of

 6                  the question.

 7                  A.     I do not know.
 8                  Q.     Did Genever Holdings Corporation

 9         have any employees?
10                  A.     I do not know.

11                  Q.     Does Genever Holdings Corporation

12         have offices?
13                  A.     I do not know.

14                  Q.     Does Genever Holdings Corporation

15         have a phone number?

16                  A.     I do not know.
17                  Q.     Does Genever Holdings Corporation

18         have a board of directors?

19                  A.     I do not know.

20                  Q.     Had has there ever been a board

21         meeting of Genever Holdings Corporation?

22                  A.     I do not know.

23                  Q.     Does Genever Holdings Corporation

24         have any relationship to Shiny Times?

25                  A.     I think representative relationship.
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1                                        KWOK
 2         applicant?

 3                  A.     I do not have any ideas about me

 4         believing or not.           I don't have these ideas.
 5                  Q.     To your knowledge, did anyone at

 6         Paul Weiss or Williams & Connolly or anyone

 7         acting on your behalf or Zhang Wei's behalf
 8         tell the Sherry-Netherland that Zhang Wei was

 9         involved in this purchase?
10                         MR. HARMON:       Asked and answered.            At

11                  this time a third time that you've asked

12                  that question.       I'll let him answer it
13                  again.

14                         THE INTERPRETER:         To your knowledge,

15                  Paul Weiss, William Connolly, represent to

16                  Sherry-Netherland that Zhang Wei was an
17                  applicant?     Is that the question?

18                  Q.     To your knowledge, did anyone at

19         Paul Weiss or Williams and Connolly or anyone

20         acting on your behalf or Zhang Wei's behalf

21         tell the Sherry-Netherland that Zhang Wei was

22         involved in this purchase?

23                         MR. HARMON:       And please make sure

24                  you translate my objection to the witness,

25                  as well.
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1                                        KWOK
 2                  A.     I complete don't -- I don't

 3         remember.

 4                  Q.     Did you authorize Paul Weiss and
 5         Williams & Connolly to communicate with the

 6         Sherry-Netherland on your behalf?

 7                  A.     I don't remember.
 8                  Q.     Do you have any reason to doubt that

 9         you authorized Paul Weiss and Williams and
10         Connolly to communicate with the

11         Sherry-Netherland on your behalf?

12                  A.     I don't quite understand what you
13         mean.

14                  Q.     Why don't you take a look, please,

15         at SN 0060.           And I will represent, Mr. Kwok,

16         that this is a document that says Consolidated
17         Balance Sheet for December 31, 2014, of

18         Beijing Zenith Holdings Company and that this

19         was provided by Paul Weiss to the

20         Sherry-Netherland.

21                  A.     I do not know.

22                  Q.     You don't remember that Beijing

23         Zenith Holdings financials was presented to

24         the Sherry-Netherland board in connection with

25         your application?
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                                                                                   77


1                                        KWOK
 2                  A.     I don't remember.

 3                  Q.     It's a long time ago.           Do you -- as

 4         of 2015, did you have any ownership interest
 5         in Beijing Zenith Holdings Company Ltd.?

 6                  A.     No.

 7                  Q.     Did Zhang Wei have an ownership
 8         interest in Beijing Zenith Holdings Company

 9         Ltd.?
10                  A.     I do not know.

11                  Q.     Do you know why Beijing Zenith

12         Holding Company's financials were submitted to
13         the Sherry-Netherland in connection with your

14         application to purchase?

15                  A.     I do not know.

16                  Q.     Who owned Beijing Zenith Holdings
17         Company Ltd. as of February 2015?

18                  A.     Zhang Wei, the family member or

19         members of Zhang Wei was in dominating control

20         of it.        His wife's older sister controlled

21         about 90 percent.           I'm not sure, but that's

22         approximate.

23                  Q.     So Zhang Wei's family members owned

24         Beijing Zenith Holdings?

25                  A.     Yes.
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                                                                                   78


1                                        KWOK
 2                  Q.     And you personally had no ownership

 3         interest at all?

 4                  A.     Yes.
 5                  Q.     And you no control at all over

 6         Beijing Zenith at this time?

 7                  A.     Right.
 8                  Q.     Do you know why Paul Weiss

 9         represented in the cover letter that Mr. Kwok
10         is the owner and controlling party of China

11         Zenith Holdings Company in that letter?

12                  A.     I don't know why he would write it
13         like that.

14                  Q.     You never told Paul Weiss that?

15      DI                 MR. HARMON:       Object to the form of

16                  the question.      Hold on a second.          I'm
17                  going to object on attorney/client

18                  privilege.

19                  A.     Refuse to answer.

20                  Q.     That's fine.       Let me try it this

21         way, as a yes/no question:               Do you have any

22         idea how Paul Weiss got the understanding that

23         you, Mr. Kwok, were the owner and controlling

24         party of China Zenith Holdings?

25                         MR. HARMON:       Just yes or no.
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                                                                                   79


1                                        KWOK
 2                  A.     I don't know.

 3                         You know, I'm sorry, my leg and my

 4         shoulder, because previously in prison I was
 5         beaten, I'm in great pain.               It was in '89.

 6                  Q.     Do you want to take a break?

 7                  A.     No, I'm just letting you know when
 8         I'm in pain, I have to move, so please

 9         don't -- you know, I like to just sit there
10         and not move, but then, because the pain, I

11         have to constantly move.              Usually when I'm in

12         the office I'm always standing, I'm not
13         sitting.

14                  Q.     As I said earlier, if at any time

15         you need a break for as long as you need, just

16         please tell me and I'm happy to --
17                  A.     Thank you, sir.         But you know what?

18         Right now I'd really like to sleep.                  I haven't

19         been sleeping for two days.

20                  Q.     Me too.

21                  A.     You are very successfully abusing me

22         on behalf of CCP.

23                  Q.     Mr. Kwok, did you know, at the time

24         this Beijing Zenith Holdings balance sheet was

25         submitted to the Sherry-Netherland that
     20-12411-jlg    Doc 14-19   Filed 12/16/20 Entered 12/16/20 15:47:19   Exhibit 19
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                                                                                   80


1                                        KWOK
 2         Beijing Zenith Holdings' assets had been

 3         frozen by the Chinese government?

 4                         MR. HARMON:       Object to the form of
 5                  the question.

 6                  A.     I refuse to answer.

 7                         MR. HARMON:       You can answer this one
 8                  if you understand the question.

 9                  A.     In that case, I know.           Yes.
10                  Q.     Mr. Kwok, I'm now -- I know you

11         can't follow along with me, but I'm now

12         turning to page SN 0063, which had is the
13         Williams Connolly document, and Williams

14         Connolly writes to the board of the

15         Sherry-Netherland that "Mr. Kwok is eager to

16         become a resident at the Sherry, but also
17         feels keenly the need for confidentiality

18         regarding his business and financial affairs."

19                         Do you recall that Williams &

20         Connolly made that representation to the

21         Sherry-Netherland on your behalf?

22                  A.     I do not know with this letter.

23                  Q.     Did you communicate to anyone that

24         there was a strong need to maintain

25         confidentiality around your financials and
     20-12411-jlg    Doc 14-19    Filed 12/16/20 Entered 12/16/20 15:47:19   Exhibit 19
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                                                                                    81


1                                         KWOK
 2         business affairs?

 3                  A.      No.

 4                  Q.      And are aware that the Williams &
 5         Connolly letter on page SN 0062 also

 6         represented that you, Mr. Kwok, were the one

 7         who was applying to become a shareholder
 8         tenant?

 9                  A.      I don't remember.
10                  Q.      What is Bravo Luck?

11                  A.      I think Bravo Luck -- I think Bravo

12         Luck is a company that is -- has some relation
13         to Mr. Zhang Wei, but I'm not really sure.

14         When you say English, I become confused.

15                  Q.      Do you have any relation to Bravo

16         Luck?
17                  A.      I really don't know.

18                          THE VIDEOGRAPHER:         We're now off the

19                  record.      The time is 12:25 p.m.

20                          (Luncheon recess taken at 12:25

21                  p.m.)

22

23                          THE VIDEOGRAPHER:         This marks the

24                  beginning of Tape Number 3 in the

25                  deposition of Mr. Miles Kwok.              We're now
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1                                        KWOK
 2                  back on the record.         The time is

 3                  12:57 p.m.

 4                         (Kwok Exhibit 5, UBS Hong Kong
 5                  statement for Bravo Luck Limited entitled

 6                  Debit Advice, marked for identification,

 7                  as of this date.)
 8      BY MR. MOSS:

 9                  Q.     Good afternoon, Mr. Kwok.
10                  A.     Good afternoon everybody.

11                  Q.     Thank you.       I have handed you -- the

12         court reporter has handed you Exhibit 5, which
13         is a statement entitled Debit Advice from UBS

14         in Hong Kong for Bravo Luck Limited, and it's

15         Bates stamped Kwok 510, and it was produced by

16         your counsel to us in this case, Mr. Kwok.
17                         Bravo Luck Limited is a company

18         owned by Zhang Wei?

19                  A.     Yes.

20                  Q.     You have no ownership interest in

21         Bravo Luck Limited?

22                  A.     I do not remember having any.

23                  Q.     You don't remember having any

24         interest in Bravo Luck Limited at any time,

25         right?
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                                                                                   83


1                                        KWOK
 2                  A.     I do not remember.

 3                  Q.     Sitting here today, you believe you

 4         never had an interest in Bravo Luck Limited?
 5                  A.     I really truly don't remember

 6         because I can't read this document and I don't

 7         remember this Bravo Luck Limited.                  I'm sorry,
 8         I don't know.

 9                  Q.     This document says that it's in
10         favor of Ivey Barnum & O'Mara LLC.                  Do you

11         know who that is?

12                  A.     What is that?        Where is that?
13                  Q.     Well, it's in the middle of the

14         document.

15                  A.     What is that called?          I don't know.

16                  Q.     I'll tell you, Mr. Kwok, based on my
17         rudimentary Google searches it's a law firm in

18         Connecticut.          Does that refresh your

19         recollection?

20                  A.     I really don't know.          Where is

21         Connecticut?          Is it in Hong Kong?

22                  Q.     It's very close to here.            It's close

23         to New York.

24                  A.     Oh.    I don't know.

25                  Q.     Is Bravo Luck Limited the entity
     20-12411-jlg    Doc 14-19   Filed 12/16/20 Entered 12/16/20 15:47:19   Exhibit 19
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                                                                                   84


1                                        KWOK
 2         from where the funds came to purchase the

 3         Sherry-Netherland apartment?

 4                  A.     It should be so.
 5                  Q.     And the purchase price in March of

 6         2015 was $67.5 million?

 7                         THE INTERPRETER:         I'm sorry.       I did
 8                  66.2 million.      The interpreter -- I made a

 9                  mistake.     The interpreter, I made a
10                  mistake in my interpretation.             I believe I

11                  said 6 billion and he made correction, oh,

12                  67 million.
13                  A.     Oh, I don't remember that.

14                  Q.     Do you remember approximately how

15         much the apartment was purchased for?

16                  A.     I don't really remember.            I just
17         remember that Mr. Zhang Wei had at that time a

18         $100 million budget.             But as for how much that

19         was at that time, I don't remember.

20                  Q.     Do you know who sold the

21         Sherry-Netherland apartment?

22                  A.     Cathy, Cathy Sloan.

23                  Q.     Who spoke with Mr. Sloan to

24         negotiate the purchase price?                Was it -- oh,

25         oh, scholarship.           Cathy Sloan.       Cathy Sloan
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1                                        KWOK
 2         was your real estate broker?

 3                  A.     Yes.    Yes.

 4                  Q.     And was the apartment purchased from
 5         Gilbert Haroche?

 6                  A.     I don't know who that person is.

 7                  Q.     Do you know who the owner of the
 8         apartment was before Zhang Wei and you

 9         purchased it?
10                         MR. HARMON:       Object to the form of

11                  the question.

12                  A.     I really can't remember.            I do not
13         know.

14                  Q.     Did you negotiate the price, you

15         personally negotiate the price with the

16         seller?
17                  A.     No.

18                  Q.     Did Zhang Wei negotiate with the

19         seller?

20                  A.     I do not know.

21                  Q.     Do you know who did negotiate on

22         behalf of the purchaser with the seller?

23                  A.     I was one among many.           There was

24         Zhang Wei's attorney and the employee or

25         employees of his office.              Many people.        I was
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1                                        KWOK
 2                  Q.     And that was in connection with our

 3         lawsuit and our motion for the attachment on

 4         the residence, right?
 5                  A.     Yes.

 6                  Q.     When you spoke to Yvette about the

 7         pledge, did she communicate to you, in
 8         substance, that the apartment had been

 9         pledged?
10                  A.     This?     No.

11                  Q.     Do you have any idea why the pledge

12         came up for the first time in response to our
13         motion to attachment apartment, then?

14                  A.     I don't understand what you mean.

15                  Q.     Do you understand that there were

16         papers filed on your behalf that argue that
17         Pacific Alliance couldn't get a lien or an

18         attachment on the apartment because the

19         apartment had been pledged?

20                  A.     Wang Yan Ping --

21                         THE INTERPRETER:         W-A-N-G, Y-A-N,

22                  P-I-N-G.

23                  A.     -- had told me about it.

24                  Q.     And that's Yvette?

25                  A.     Yes.
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                                                                                  113


1                                        KWOK
 2                  Q.     She told you that your side filed

 3         papers arguing that the apartment had been

 4         pledged already?
 5                  A.     Yes.

 6                  Q.     And as far as you know, those papers

 7         were accurate?
 8                  A.     Yes.

 9                  Q.     And Yvette believed that the
10         apartment had, in fact, been pledged?

11                         MR. HARMON:       Object to the form of

12                  the question.
13                  A.     You can ask Wang Yan Ping those

14         questions.         I cannot answer on behalf of her.

15                  Q.     That's completely fair.            Let me try

16         to rephrase it.
17                         Did Yvette communicate to you that

18         the apartment had been pledged?

19                  A.     Yes.

20                         MR. MOSS:      I'm happy to take a quick

21                  break now, if that's okay with everyone.

22                         MR. HARMON:       That's fine.

23                         THE VIDEOGRAPHER:         We're now off the

24                  record.      The time is 2:02 p.m.

25                         (Recess was taken.)
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                                                                                  114


1                                        KWOK
 2                         THE VIDEOGRAPHER:         This marks the

 3                  beginning of Tape Number 4 in the

 4                  deposition of Mr. Miles Kwok.             We're now
 5                  back on the record.         The time is 2:28 p.m.

 6                         I just want to note for the record

 7                  that the witness is standing for his
 8                  comfort.

 9      BY MR. MOSS:
10                  Q.     Mr. Kwok, how old is Zhang Wei?

11                  A.     I think around 38 years old.

12                  Q.     What did he do for a living before
13         he was imprisoned?

14                  A.     Invested in real estate securities.

15                  Q.     What types of securities?

16                  A.     He just did a lot of these -- he did
17         a lot of these securities related things,

18         selling and purchasing.

19                  Q.     What city did he live in?

20                  A.     Henan Zhengzhou.

21                         THE INTERPRETER:         H-E-N-A-N,

22                  Z-H-E-N-G-Z-H-O-U.

23                  Q.     And when did he go to prison?

24                  A.     It should be around after May of

25         2015.         Around May, June, approximately.             I
     20-12411-jlg    Doc 14-19   Filed 12/16/20 Entered 12/16/20 15:47:19   Exhibit 19
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                                                                                  115


1                                        KWOK
 2         can't remember too precisely.

 3                  Q.     Was there any press, publicity

 4         around him going to prison?
 5                  A.     A lot of Chinese press reporting.

 6         So many of them.

 7                  Q.     Including him?
 8                         MR. HARMON:       I'm sorry?

 9                         THE INTERPRETER:         I'm sorry?
10                  Q.     Including press about him going to

11         prison?

12                         THE INTERPRETER:         Including about
13                  Zhang Wei going to prison?

14                         MR. MOSS:      Yes.

15                  A.     Yes.    So in the information we

16         provided to you of the Hong Kong police,
17         Chinese police about their sealing off and

18         also arrest, in that list includes the name of

19         Zhang Wei.

20                  Q.     Where was that information provided?

21                  A.     This was shown to me about Wang Yan

22         Ping.         Yvette showed it to me.

23                  Q.     Do you know whether or not that was

24         something that was filed in the lawsuit with

25         the court?
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1                                        KWOK
 2                  A.     No, this is about police, about the

 3         police going after arrest, and because it's in

 4         English and partly in Chinese, and I saw the
 5         part with Zhang Wei's name.

 6                  Q.     Was it an article, article in

 7         English?
 8                  A.     No, it is not article, it's a

 9         document provided by the police to the Hong
10         Kong company.

11                  Q.     What Hong Kong company?

12                  A.     Oh, so many companies.           I don't
13         remember.        It definitely includes Hong Kong

14         Zenith -- Hong Kong Golden Spring.

15                  Q.     Are you aware of a company called

16         Henan Yuda Real Estate?
17                  A.     Can I not answer this question?                  I

18         refuse to answer this question because I think

19         this is unrelated to the topic at hand today.

20                  Q.     Does Mr. Zhang Wei have an interest

21         in Henan Yuda Real Estate Company?

22                         MR. HARMON:       I think I'm going to

23                  need you to explain to me, if you want him

24                  to answer the question, the relationship

25                  of that entity to the attachment
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1                                        KWOK
 2                  proceeding, because otherwise we'll take

 3                  the position that it's beyond the scope of

 4                  the attachment discovery and direct the
 5                  witness not to answer.          But I'm open to

 6                  having you explain to me its connection.

 7                         MR. MOSS:      Sure.     So Mr. Kwok, I
 8                  believe, testified that Zhang Wei lived in

 9                  the Henan Province.
10                         Is that correct?

11                         THE WITNESS:       Yes.

12                         MR. MOSS:      And for first time we're
13                  hearing about somebody named Zhang Wei who

14                  apparently owns the apartment, and there's

15                  press about a Kwok-controlled Henan Yuda

16                  Real Estate Company, and I'm trying to
17                  understand the relationship between

18                  Mr. Kwok and Zhang Wei.

19      DI                 MR. HARMON:       I'll direct the witness

20                  not to answer.       I'll stand on the

21                  objection.

22                  A.     I refuse to answer.

23                  Q.     Okay.     Do you and Mr. Zhang Wei both

24         have interests in the Henan Yuda Real Estate

25         Company?
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1                                        KWOK
 2      DI                 MR. HARMON:       I direct the witness

 3                  not to answer.

 4                         THE INTERPRETER:         The interpreter
 5                  did not interpret, and Mr. Kwok says:

 6                  A.     I refuse to answer.

 7                  Q.     Was that company, Henan Yuda Real
 8         Estate Company, accused of loan fraud?

 9      DI                 MR. HARMON:       I direct the witness
10                  not to answer.

11                  A.     Refuse to answer.

12                  Q.     Okay.     Are you aware that in two
13         rounds of attachment briefing relating to the

14         apartment, that in the lawsuit that you filed

15         against the Sherry-Netherland Hotel, that

16         there's never been a reference to Zhang Wei in
17         any document that's been filed on your behalf

18         in any litigation relating to the apartment?

19         Are you aware of that?

20                  A.     I don't really know.

21                  Q.     Can you point to any document that

22         evidences Zhang Wei's ownership of the

23         apartment?

24                  A.     The fund came from Zhang Wei's

25         company.        This is the simplest evidence.              And
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1                                        KWOK
 2         Zhang Wei is the person who borrow from that R

 3         something.

 4                  Q.     Is there any other evidence besides
 5         the document showing where the funds came

 6         from, any other document that you can identify

 7         that shows Zhang Wei's ownership of either the
 8         apartment or of either of the Genever

 9         entities?
10                         THE INTERPRETER:         This is the

11                  interpreter asking for clarification.

12                  A.     I, with him, have this agreement to
13         represent him and also have the one for

14         financial arrangement and investment planning.

15                  Q.     You have a written agreement with

16         him?
17                  A.     Yes.

18                  Q.     Do you have a copy of that agreement

19         in your possession?            Let me just clarify --

20                  A.     I have original and he has original.

21                  Q.     Did you provide that document to

22         your attorneys in connection with responding

23         to our document request in this case?

24                  A.     I believe not.

25                  Q.     Did you provide it to the
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                                                                                  120


1                                        KWOK
 2         Sherry-Netherland in connection with applying

 3         for the apartment?

 4                  A.     I do not know.
 5                  Q.     You said you have an agreement for

 6         investment planning.             Is that a separate

 7         written agreement with Zhang Wei?
 8                  A.     No, it's the same.          No, that was 100

 9         million investment all together.
10                  Q.     So you have one written document

11         showing your relationship with Zhang Wei?

12                  A.     Yes.
13                  Q.     Does that agreement actually mention

14         the Sherry-Netherland apartment?

15                  A.     Yes.

16                  Q.     Why did Zhang Wei, if you know, why
17         was he imprisoned?

18                  A.     He was falsely accused by the

19         communist.        It was wrongfully -- it was

20         wrongful.

21                  Q.     Did it have to do with you?

22                  A.     Of course it did.

23                  Q.     So he's a political prisoner in

24         China?

25                  A.     Of course.
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1                                        KWOK
 2                  Q.     Is it your testimony that as a

 3         political prisoner in China, that he has

 4         access to speak to his lawyers?
 5                  A.     No, impossible.         In China, no

 6         political prisoner can be able to speak to

 7         anyone.       Well, strictly speaking, he was
 8         kidnapped.        He was kidnapped by the

 9         communists.
10                  Q.     Have you ever heard of somebody

11         called Guo Qiang, G-U-O, Q-I-A-N-G?

12                  A.     As I said to you before, that's my
13         son.

14                  Q.     That's Mileson Kwok?

15                  A.     Yes.    I only have one son.

16                  Q.     Sorry.     Thank you for clarifying.
17                         Have you ever heard of a company

18         called Blue Capital?

19                  A.     I don't remember that.

20                  Q.     You remember we discussed earlier

21         your conversation with Yvette about the

22         pledges, or the pledge of the apartment to

23         Roscalitar 2, or R2?             Remember I asked you

24         questions about that earlier?

25                  A.     Yes.
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1                                        KWOK
 2                  Q.     Are you aware that the pledge to

 3         Roscalitar was terminated in 2017?

 4                  A.     I don't know.
 5                  Q.     Who would know that?          Would that be

 6         Yvette?

 7                  A.     It would be Zhang Wei's attorneys
 8         and then that something, the R company, I

 9         think they'd know.
10                  Q.     So you didn't know that when it was

11         represented to this Court that the apartment

12         was pledged to Roscalitar 2, that at the time
13         of that representation the pledge had actually

14         been terminated?

15                         MR. HARMON:       Object to the form of

16                  the question.
17                  A.     I did not know.

18                  Q.     Remember earlier I asked you about

19         the seizing of the Zenith assets and whether

20         or not you knew that the assets were seized?

21                  A.     I refuse to answer.

22                  Q.     Well, you answered earlier that

23         the -- that you knew that the Zenith assets

24         were seized.          Do you remember that testimony?

25                  A.     I refuse to answer it now.
     20-12411-jlg    Doc 14-19   Filed 12/16/20 Entered 12/16/20 15:47:19   Exhibit 19
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1                                        KWOK
 2                  Q.     Did you also know that the Beijing

 3         Pangu assets were seized?

 4                  A.     I refuse to answer.
 5                  Q.     Do you recall that you personally

 6         signed an agreement agreeing to the

 7         Sherry-Netherland proprietary lease?
 8                  A.     I think I remember signing it.              But

 9         as for the content of that, I don't really
10         know, but I think I did sign that.                  But what,

11         in fact, that document was, I do not know.

12                  Q.     So you signed something, but you
13         hadn't reviewed it?

14                  A.     I do not have the ability to review

15         it.

16                  Q.     Did you ever gain an understanding
17         of what you were agreeing to when you signed

18         the agreement with the Sherry-Netherland

19         adopting the proprietary lease?

20                  A.     Even to this day I do not

21         understand.

22                  Q.     Your lawyers didn't review the

23         document with you before you signed it?

24                         MR. HARMON:       I think that would be

25                  an attorney/client privileged
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                                                                                  124


1                                        KWOK
 2                  communication.       I take it back, I take it

 3                  back --

 4                         MR. MOSS:      I think the fact of
 5                  reviewing --

 6                         MR. HARMON:       The fact --

 7                         MR. MOSS:      -- as a yes/no question
 8                  is fine.

 9                         MR. HARMON:       You could answer the
10                  question.

11                         THE INTERPRETER:         I'm sorry.

12                         MR. HARMON:       You can answer the
13                  question.

14                  A.     I refuse to answer.          I don't know.

15                  Q.     You don't know or you refuse to

16         answer?
17                  A.     I -- I don't know.

18                  Q.     You don't remember reviewing the

19         document with your lawyers?

20                  A.     I don't remember.

21                  Q.     Mr. Kwok, you're aware that our

22         client is seeking an attachment of the

23         Sherry-Netherland apartment?

24                  A.     I think this is just robbery.              I

25         don't think this is attachment.                 I think this
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1                                        KWOK
 2         is just robbers.           I never signed the 30

 3         million agreement, the money was never given

 4         to us, and the Sherry-Netherland is not ours
 5         either and they're just robbers.

 6                  Q.     I just want to ask a simple

 7         question.        I know that you dispute everything
 8         in the lawsuit.           I understand that.         My

 9         question is just are you aware that our client
10         has filed papers seeking what we say at least

11         is a request to attach the apartment?

12                  A.     I know now.
13                  Q.     And my question is:          Is it your

14         position that our client cannot attach the

15         apartment because you don't own it, but rather

16         Zhang Wei does?
17                         MR. HARMON:       Object to the form of

18                  the question.

19                  A.     Yes.

20                  Q.     And I know you've testified a lot

21         about how you think that this is an

22         illegitimate lawsuit.             My question is:         If the

23         court finds for our client and orders you to

24         pay a judgment in this lawsuit, money to us,

25         will you pay it?
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1                                        KWOK
 2      DI                 MR. HARMON:       Don't answer the

 3                  question.     It's beyond the scope of the

 4                  attachment proceeding, discovery.
 5                  A.     Refuse to answer.

 6                         MR. MOSS:      And of course,

 7                  Mr. Harmon, you added discovery after a
 8                  second there to your instruction because

 9                  it obviously goes to the very heart of the
10                  attachment motion.

11                         MR. HARMON:       I completed my

12                  sentence.     Thank you.
13                  Q.     Mr. Kwok, you testified earlier that

14         you signed the agreement adopting the

15         proprietary lease without knowing what was in

16         that document.          Do you recall that testimony?
17                         MR. HARMON:       Object to the form of

18                  the question.

19                  A.     Yes, I did say that.

20                  Q.     Is it your practice to sign

21         agreements or documents that are in English

22         without knowing what's in them?

23                  A.     Yes.

24                         MR. MOSS:      Why don't we go off the

25                  record.
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1                                        KWOK
 2                         THE VIDEOGRAPHER:         We're now off the

 3                  record.      The time is 2:55 p.m.

 4                         (Recess was taken.)
 5                         THE VIDEOGRAPHER:         We're now back on

 6                  the record.      The time is 3:13 p.m.

 7                         MS. MAISTRELLO:         He just said if you
 8                  could take a photo of me later.

 9                         THE WITNESS:       I want to remember you
10                  abuse me here.

11                         MR. MOSS:      Well, Mr. Kwok, it's all

12                  going to end soon.        Just a few more
13                  questions.

14                         THE WITNESS:       Thank you.

15      BY MR. MOSS:

16                  Q.     You remember, we've talked about
17         this lawsuit today, and you understand that my

18         client is suing because they claim that they

19         made a loan to one of your companies and that

20         that loan was never repaid.               You understand

21         that at least that's what we're claiming?

22                  A.     I understand with absolute lies.

23         This is defamation, this is --

24                         THE INTERPRETER:         I'm blanking on

25                  the word.     To get you money from --
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                                                                                   128


1                                        KWOK
 2                         MR. SARNOFF:       Extortion?

 3                         THE INTERPRETER:         Yes, thank you.

 4                  A.     Extortion.       I'd like for you to
 5         provide me with the truth for the $30 million

 6         loan for the payment, for the loan, to give me

 7         truth on that.
 8                  Q.     So that's what I want to try to

 9         understand.           Is it your testimony that my
10         client never actually made the loan?

11      DI                 MR. HARMON:       Objection.       Direct the

12                  witness not to answer.
13                  A.     I refuse --

14                         MR. HARMON:       Beyond the scope of

15                  attachment discovery at this time.

16                         MR. MOSS:      It's in the scope of his
17                  testimony.     I'm trying to clarify what

18                  he's already said.

19      DI                 MR. HARMON:       I understand that.             You

20                  asked him a question.          He could have

21                  answered yes or no.         He gave you an

22                  answer.      So I know you want to follow up

23                  on that answer, but the follow-up is

24                  beyond the scope of attachment discovery.

25                  I direct him not to answer.
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1                           C E R T I F I C A T E
 2

 3      STATE OF NEW YORK                )

 4                                       ) SS.:
 5      COUNTY OF SUFFOLK                )

 6

 7             I, KRISTI CRUZ, a Notary Public within AND
 8      for the State of New York, do hereby certify:

 9             That MILES KWOK, the witness whose
10      deposition is hereinbefore set forth, was duly

11      sworn by me and that such deposition is a true

12      record of the testimony given by such witness.
13             I further certify that I am not related to

14      any of the parties to this action by blood or

15      marriage; and that I am in no way interested in

16      the outcome of this matter.
17             IN WITNESS WHEREOF, I have hereunto set my

18      hand this 8th day of October 2018.

19

20

21

22

23

24      _______________________

25      KRISTI CRUZ
